                    Case 4:10-cr-00070-DLH                 Document 78         Filed 01/28/11      Page 1 of 1

Local AO 470 (Rev. 1/11) Order Scheduling a Hearing



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District of North Dakota

                  United States of America                           )
                             v.                                      )      Case No. 4:10-cr-070-03
                     Francene Kelly Azure                            )
                                                                     )
                             Defendant                               )

                                                      ORDER SCHEDULING HEARING


          A hearing in this case is scheduled as follows:


Type: Detention Hearing and Arraignment                                     Courtroom: Bismarck VCR to Minot VCR

Place: Federal Courthouse, 100 1st St. SW, Minot, ND                        Date and Time: Febuary 1, 2011, at 11:00 a.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:           01/28/2011                                                             /s/ Charles S. Miller, Jr.
                                                                                              Judge’s signature



                                                                                Charles S. Miller, Jr., Magistrate Judge
                                                                                            Printed name and title
